                             Case 23-12686-PGH                     Doc 9        Filed 04/06/23               Page 1 of 1

CGFI6 (12/01/20)




ORDERED in the Southern District of Florida on April 6, 2023




                                                                                                  Paul G. Hyman, Jr.
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                  Case Number: 23−12686−PGH
                                                                                                                  Chapter: 7
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Latonia Nelson
aka Latonia Lovett Nelson
3000 NW 214th Street
Miami Gardens, FL 33056

SSN: xxx−xx−3585


                       ORDER DENYING APPLICATION TO PAY FILING FEE
                    IN INSTALLMENTS AND SETTING DEADLINE TO CORRECT
                         DEFICIENCY(IES) TO AVOID DISMISSAL OF CASE
    An "Application for Individuals to Pay the Filing Fee in Installments" was filed in this case on 4/5/2023.
A review of the record indicates:

            The application (paragraph 3) did not include the amount of the final installment
            payment due on or before 60 days from the filing date of the petition.
      The court having considered said application, it is

     ORDERED that that the application is "denied". The debtor must correct the above−noted
deficiency(ies) on or before 04/13/2023 by submitting an AMENDED application and, if applicable, shall
remit $ 169.00. Payment must be made by money order, cashier's or "official" check payable to Clerk, U.S.
Court. Cash will not be accepted as a form of payment. Failure to comply with or otherwise respond to this
order will result in entry of an order dismissing case without further notice or hearing.
                                                                         ###
The clerk shall serve a copy of this order on the Debtor, Attorney for Debtor (if applicable), Petition Preparer (if applicable), and
Trustee.
